838 F.2d 1211Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.John E. WILSON, Petitioner-Appellant,v.STATE OF MARYLAND, Respondent-Appellee.
    No. 87-7771.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Dec. 28, 1987.Decided:  Feb. 1, 1988.
    
      John E. Wilson, appellant pro se.
      Jillyn Kaberle Schulze, Office of Attorney General, for appellee.
      Before JAMES DICKSON PHILLIPS, MURNAGHAN, and ERVIN, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Wilson v. State of Maryland, C/A No. 86-3267-JH (D.Md. Oct. 29, 1987).
    
    
      2
      AFFIRMED.
    
    